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                    UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF NEW JERSEY


 JOSHUA MOSES,                              Case No. 20-CV-1025-KMW-MJS

                            Plaintiff,
              v.
                                                  Motion Returnable:
 DR. RAVI SOOD, DR. LOUIS G. FARES,               February 20, 2024
 DR. B. CHOWDHURY, NICOLETTA
 TURNER-FOSTER, DAVID ORTIZ,
 UNITED STATES OF AMERICA, and
 BUREAU OF PRISONS, JOHN/JANE
 DOES 1-10.

                            Defendants.




  PLAINTIFF’S BRIEF IN OPPOSITION TO DEFENDANT CHOWDHURY’S MOTION
                         FOR SUMMARY JUDGMENT


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        Pursuant to Fed. R. Civ. P. 56(c) and L. Civ. R. 56.1, Plaintiff, Joshua Roy Moses (“Mr.

 Moses” or “Plaintiff”), respectfully submits this Brief in Opposition to Defendant Dr. Bhanwarlal

 Chowdhury’s (“Dr. Chowdhury” or “Defendant”) Motion for Summary Judgment (ECF No. 117).

                                 PRELIMINARY STATEMENT

        Dr. Chowdhury is a Gastroenterologist and consultant of the United States Bureau of

 Prisons who acted as a specialist for inmates requiring care within his field of expertise. Plaintiff

 Joshua Moses was an inmate at the Federal Correctional Institute Fort Dix (“FCI Fort Dix”) during

 the relevant period. With a long history of gastrointestinal issues that pre-dated Mr. Moses’

 confinement at FCI Fort Dix, Mr. Moses required specialized care and assistance for his condition,

 which Mr. Moses managed for years outside of prison without issue.

        Mr. Moses was referred to Dr. Chowdhury for gastroenterological care during his

 confinement at FCI Fort Dix. However, instead of making a good faith effort to care for Mr. Moses

 and his significant medical issues, Dr. Chowdhury acted with deliberate and egregious indifference

 to Mr. Moses and his medical needs. Specifically, despite Dr. Chowdhury’s own representation

 that “[f]or nearly two years, Dr. Chowdhury consistently provided intensive and frequent care to

 Plaintiff,” Dr. Chowdhury:

        (i)     never even bothered to review Mr. Moses’ medical records (despite admitting he
                knew that this is important to appropriate patient care);

        (ii)    knowingly failed to order or recommend appropriate diagnostic tests, including the
                only diagnostic procedure that could have determined whether Mr. Moses’
                debilitating pain was caused by adhesions (as Dr. Chowdhury suspected) or even
                order any imaging (CT/MRI/endoscopies/ultrasounds/X-rays) that could have ruled
                out other causes;

        (iii)   refused to prescribe any form of pain management for Mr. Moses’ unbearable pain,
                including even an over-the-counter pain reliever like Tylenol, despite admitting that
                he knew Mr. Moses was suffering from severe pain; and




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          (iv)   admittedly treated Mr. Moses differently than he would have acted if Mr. Moses
                 were a private patient and not an inmate (in which case he would have offered the
                 tests and procedures he never offered to Mr. Moses).

          Despite these egregious failings, Dr. Chowdhury moves for partial summary judgment

 implausibly arguing that Mr. Moses’ claims are nothing more than a dispute over the proper course

 of treatment, and therefore Mr. Moses’ claims do not rise to the level of “deliberate indifference.”1

 Despite Dr. Chowdhury’s attempts to characterize his blatant and intentional failures as a mere

 “disagreement” over the proper course of treatment, he cannot escape his admissions during his

 deposition that undermine his attempt to obtain summary judgment. Indeed, Defendant’s

 Statement of Material Facts (“Def.’s SMF”, ECF No. 117-2) entirely ignores Dr. Chowdhury’s

 two-hundred page deposition testimony, selectively cites to allegations in the Second Amended

 Complaint, and even inappropriately argues (without citation) that Mr. Moses’ (unrefuted) expert

 report must include references to constitutional standards in support of the deliberate indifference

 claims. (See, generally, Def.’s SMF.) Dr. Chowdhury’s tactics are obviously insufficient to

 establish entitlement to summary judgment.

          Of course, Dr. Chowdhury is not entitled to summary judgment simply because a medical

 expert opining on his egregious medical failures did not include a legal analysis of the Eighth

 Amendment and/or deliberate indifference standards. As set forth in Plaintiff’s Counterstatement

 of Facts (“Pl.’s CSMF”) submitted herewith, the record clearly establishes that Dr. Chowdhury’s

 conduct was shocking, alarming, concerning, and at the very least, there is a genuine dispute of

 material fact as to whether the conduct constitutes deliberate indifference (if not sufficient

 evidence to constitute deliberate indifference as a matter of law). Dr. Chowdhury is certainly not

 entitled to summary judgment.


 1
     Dr. Chowdhury has not moved for summary judgment on the negligence-based claims.


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        Given the above, and as set forth in detail in the Counterstatement of Facts, there are

 numerous genuine disputed issues of material fact here, and the Court should deny Defendant’s

 Partial Motion for Summary Judgment.

                                    STATEMENT OF FACTS

        Plaintiff refers to and fully incorporates his Counterstatement of Facts (“Pl.’s CSMF”) and

 Response to Plaintiff’s Statement of Material Facts (Pl.’s RSMF”) as if set forth fully herein.

        By way of brief summary, Plaintiff Joshua Moses was an inmate at FCI Fort Dix from June

 2017, where he remained incarcerated through the timeline of this lawsuit. (See Pl.’s CSMF ¶ 5;

 Compl., Exh. A. to Def.’s SMF ¶ 2.) Mr. Moses had an extensive history with gastroenterological

 issues prior to his confinement at FCI Fort Dix, stemming from gunshot wounds suffered in 2009.

 (Pl.’s CSMF ¶¶ 2-5.) Mr. Moses managed these issues outside of prison without issue. (Pl.’s

 CSMF ¶ 3.) While an inmate at FCI Fort Dix, the prison referred Mr. Moses to Dr. Chowdhury,

 the prison’s consulting gastroenterologist, for treatment related to these issues. (Pl.’s CSMF ¶ 10.)

 Dr. Chowdhury treated Mr. Moses on four occasions over two years. (Def.’s Moving Br. 8.)

 Although Dr. Chowdhury had admittedly never bothered to review any of his medical records

 (Pl.’s CSMF ¶ 16), Dr. Chowdhury believed that Mr. Moses was suffering from “adhesions.”

 Adhesions are an extremely painful condition caused by scar tissue in the abdomen. (Pl.’s CSMF

 ¶ 21; Expert Report of Dr. Eisner (“Dr. Eisner’s Report”) Exh. B. to Def.’s SMF at 2.) Adhesions

 are a very serious medical condition where the scar tissue presses on the patient’s organs and

 nerves, can cause bowel obstructions, and can lead to perforations in the GI tract. (Pl.’s CSMF ¶

 21; Dr. Eisner’s Report at 2.) Adhesions can only be diagnosed through exploratory surgery. (Pl.’s

 CSMF ¶ 22.) If the exploratory surgery reveals adhesions, the treatment is “lysis,” which involves

 burning the problematic scar tissue to alleviate the pain. (Pl.’s CSMF ¶ 23.)




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        Despite knowing that these were the only procedures that could diagnose and address the

 suspected adhesions, Dr. Chowdhury never performed such procedures or even so much as

 discussed them with Mr. Moses. (Pl.’s CSMF ¶ 50.) Dr. Chowdhury also never ordered additional

 imaging or testing that could have revealed if Mr. Moses’ condition was due to something other

 than adhesions. (Pl.’s CSMF ¶¶ 26, 38.) Dr. Chowdhury never bothered to order additional testing

 through CT scans, MRIs, ultrasounds, or X-rays, even though he also knew there were other

 potential causes of pain—including conditions that could be life-threatening—that would be

 detected only through further testing. (Pl.’s CSMF ¶ 24.) Significantly, Dr. Chowdhury admitted

 that if he were treating a private patient, instead of an inmate like Mr. Moses, Dr. Chowdhury

 would have undertaken such procedures/testing.          (Pl.’s CSMF ¶ 26.)      The fact that Dr.

 Chowdhury knew these were the appropriate steps to take in the care of Mr. Moses—and would

 have taken them for a private patient—alone establishes that he acted with a knowing and blatant

 disregard for Mr. Moses’ condition. Further, and importantly, despite suspecting Mr. Moses had

 adhesions, which Dr. Chowdhury admitted are very painful, Dr. Chowdhury never even bothered

 to prescribe Mr. Moses with any medication (over the counter or prescription) with a pain-relieving

 effect. (Pl.’s CSMF ¶¶ 46, 51.)

        Despite Mr. Moses’ ongoing reports of immense pain to Dr. Chowdhury for almost two

 years, and despite objective evidence to support these reports (including his own diagnosis of

 painful adhesions), Dr. Chowdhury ignored Mr. Moses’ needs, knowingly treated him with a

 different level of care than would be provided to a non-inmate, and entirely failed to address his

 suffering. (Pl.’s CSMF ¶¶ 35-36.)       In other words, Dr. Chowdhury acted with deliberate

 indifference towards Mr. Moses’ needs, and with the full knowledge that he could and would treat

 him differently if he were a private patient and not an inmate.




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        Mr. Moses’ expert, Dr. Todd Eisner, confirmed that Dr. Chowdhury’s improper conduct

 caused Mr. Moses to “suffer[] years of chronic untreated abdominal pain, and the suffering

 associated with such pain.” (Dr. Eisner’s Report at 8.)

        Given the above, and the fact that Dr. Chowdhury knowingly refused to take medically

 appropriate steps to treat Mr. Moses, including pain-management, it is difficult to imagine a

 scenario where Dr. Chowdhury could have more blatantly acted with deliberate indifference

 towards Mr. Moses’ needs. As such, the Court should deny Dr. Chowdhury’s Partial Motion for

 Summary Judgment.

                             RELEVANT PROCEDURAL HISTORY

        Based on the allegations stated above, Mr. Moses’ Second Amended Complaint, filed on

 May 7, 2021 (ECF No. 21.), asserts claims for, inter alia, Defendant Chowdhury’s deliberate

 indifference to his serious medical needs (a Bivens claim), medical malpractice, and negligent

 infliction of emotional distress.2

        On December 27, 2021, Mr. Moses submitted an Affidavit of Merit signed by his expert,

 Dr. Todd D. Eisner, M.D., confirming the substantive validity of Mr. Moses’ allegations based on

 Dr. Chowdhury’s conduct as set forth in the Second Amended Complaint.

        On June 6, 2023 and July 27, 2023, Mr. Moses deposed Dr. Chowdhury. As set forth in

 Plaintiff’s CSMF, in the course of the deposition, Dr. Chowdhury made several key admissions

 that undermine his attempt to characterize his conduct as “mere negligence” and support Mr.

 Moses’ Bivens claim. (Pl.’s CSMF ¶¶ 16, 50, 57-58.)




 2
   Dr. Chowdhury moves for summary judgment only on Count I as it relates to deliberate
 indifference to Mr. Moses’ serious medical needs.


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        On September 7, 2023, Dr. Eisner prepared an expert report detailing severe deviations

 from expected standard of medical care in Dr. Chowdhury’s treatment of Plaintiff. Coupled with

 Dr. Chowdhury’s admissions that he knew the appropriate steps to take—and that he would have

 taken such steps if Mr. Moses were a private patient and not an inmate—Mr. Moses has continued

 to pursue these claims against Dr. Chowdhury.

        This litigation originally included claims against several other government defendants.

 The claims against the federal defendants were settled on January 16, 2024. Only the claims

 against Dr. Chowdhury remain.

        On November 21, 2023, Defendant filed this Partial Motion for Summary Judgement. Dr.

 Chowdhury does not move on the claims subject to a negligence standard but limits his Motion to

 claims arising under Bivens and thus evaluated under the “deliberate indifference” standard.

        In his Motion papers, Dr. Chowdhury fails to include a single reference to his own

 deposition testimony. Instead, he relies entirely on selective allegations from the Second Amended

 Complaint and the purported lack of legal analysis in Mr. Moses’ medical expert’s report. (Def.’s

 SMF ¶ 16.) Dr. Chowdhury then argues that, based on the cherry-picked allegations of a pleading

 (and ignoring all subsequent record evidence that has only bolstered those allegations), the Court

 should find Dr. Chowdhury’s conduct is insufficient to state a claim under Bivens.

        Dr. Chowdhury’s Motion should be denied. As set forth herein and in the accompanying

 Counterstatement of Facts, Mr. Moses has clearly established conduct that a reasonable jury could

 find constitutes deliberate indifference.

                                       LEGAL ARGUMENT

 I.     Standard Of Review On A Motion For Summary Judgment.

        Summary judgment is only appropriate where the moving party “shows that there is no

 genuine dispute as to any material fact” and the moving party is entitled to judgment as a matter


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  of law. Fed. R. Civ. P. 56(a); Abraham v. Raso, 183 F.3d 279, 287 (3d Cir. 1999). The moving

  party’s burden is to show that there is an absence of evidence to support the nonmoving party’s

  case. Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986). In determining whether there is a

  genuine dispute of a material fact, the court must view the facts in the light most favorable to the

  non-moving party and make all reasonable inferences from those facts. Matsushita Elec. Indus.

  Co. Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). The non-moving party defeats summary

  judgment by asserting a genuine material fact in dispute as shown by materials in the record,

  including depositions, documents, affidavits, or declarations, or other materials. Fed. R. Civ. P.

  56(c)(1). “[I]f the evidence is such that a reasonable jury could return a verdict for the non-

  moving party,” summary judgment must be denied. Anderson v. Liberty Lobby, Inc., 477 U.S.

  242, 249 (1986).

         Here, Dr. Chowdhury has completely ignored the record evidence, including his own

  admissions at deposition and Mr. Moses’ unrefuted expert report and simply asks this Court to

  conclude, as a matter of law, that Dr. Chowdhury’s egregious conduct cannot rise to the level of

  “deliberate indifference.” This request is inappropriate in light of all of the record evidence

  conspicuously absent from his filing. As set forth above, Dr. Chowdhury, inter alia: (i) never

  bothered to review Mr. Moses’ medical records; (ii) knowingly failed to order or recommend

  appropriate diagnostic tests, including the only diagnostic procedures that could have determined

  whether Mr. Moses’ debilitating abdominal pain was truly caused by adhesions, as Dr. Chowdhury

  himself suspected, or otherwise eliminate other potential causes of Mr. Moses’ medical issues; (iii)

  more glaringly refused to prescribe any form of pain management for the unbearable pain, not

  even Tylenol or other OTC remedies, despite knowing that Mr. Moses was suffering from such

  pain; and (iv) admittedly treating Mr. Moses different than he would if he were a private patient




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  and not an inmate. This repeated conduct clearly creates genuine issues of material fact as to the

  Bivens claim and the Court should deny Dr. Chowdhury’s Motion.

  II.    The Court Should Deny Dr. Chowdhury’s Motion for Partial Summary Judgment
         Because There is a Genuine Issue of Material Fact on the Issue of Deliberate
         Indifference.

         The Parties agree that the applicable question regarding Count I of the Complaint is

  whether Dr. Chowdhury’s conduct can constitute “deliberate indifference.” (Def.’s Moving Br.

  8.) Dr. Chowdhury’s argument is essentially that because Dr. Chowdhury allegedly did something

  (as opposed to nothing at all), he can never be found liable under Bivens. (Def.’s Moving Br. 7-9.)

  Unfortunately for Dr. Chowdhury, however, this is not the applicable lens through which to view

  the legal standard. The District of New Jersey has held that “deliberate indifference to an inmate’s

  serious need can be found even where some affirmative action has been taken…” Tineo v. Fed.

  Bureau of Prisons, 2021 U.S. Dist. LEXIS 33239, at *10 (D.N.J. Feb. 23, 2021).

         As the Courts have recognized, “deliberate indifference” occurs when a provider

  “recklessly disregard[s] a substantial risk of serious harm.” Giles v. Kearney, 571. F.3d 318, 330

  (3d Cir. 2009). Deliberate indifference also occurs where there is “knowledge of the need for

  medical care” and the “intentional refusal to provide that care.” Monmouth Cty. Corr. Inst.

  Inmates v. Lanzaro, 834 F.2d 326, 346 (3d Cir. 1987) (emphasis added).

         While the Parties agree that medical negligence alone may not in and of itself suffice to

  prove a Bivens claim, Mr. Moses may prove deliberate indifference by showing that Dr.

  Chowdhury was aware of objective evidence from which he could draw an inference that a

  substantial risk of harm existed, that he drew that inference, and then failed to respond reasonably

  to the risk. Farmer v. Brennan, 511 U.S. 825, 837-844 (1994); see also Johnson v. Quinones, 145

  F.3d 164, 168-69 (4th Cir. 1998). As Dr. Chowdhury noted in his Moving Brief:




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                 In this case, there is no dispute that Plaintiff had a serious medical
                 need, fulfilling the first aspect of an Eighth Amendment claim for
                 deliberate indifference to medical care. Therefore, the entirety of
                 Plaintiff’s claim hinges on the second subjective element: whether
                 Dr. Chowdhury demonstrated deliberate indifference to Plaintiff’s
                 need for medical care.

  (Def.’s Moving Br. 8.)

         Defendant Chowdhury then argues that because “the mere misdiagnosis of a condition or

  medical need, or negligent treatment provided for a condition, is not actionable as an Eighth

  Amendment claim,” he is entitled to summary judgment. (Def.’s Moving Br. 7.) In other words,

  Dr. Chowdhury’s Motion is premised on the argument that “because medical malpractice or

  negligent treatment do not rise to constitutional violations” he is entitled to summary judgment

  here. (Id.) However, Dr. Chowdhury appears to simply conclude—clearly without a shred of

  record support, expert opinion, or even legal authority—that his admitted conduct cannot be more

  than “mere negligence” as a matter of law. But, Dr. Chowdhury completely ignores the significant

  issues that absolutely create a genuine issue of material fact on the question of deliberate

  indifference: that, in the course of providing “frequent medical care to Plaintiff” for “almost two

  years” (Def.’s Moving Br. 8), Dr. Chowdhury knowingly refused to conduct the necessary

  diagnostic procedures to identify the suspected condition causing Mr. Moses’ severe abdominal

  pain (Pl.’s CSMF ¶¶ 24, 28, 34); that he knowingly refused (without any good faith basis) to

  prescribe a single medication – not even Tylenol – to treat Mr. Moses’ pain despite admittedly

  diagnosing him with a condition Dr. Chowdhury knew was extremely painful (Pl.’s CSMF ¶¶ 33,

  46, 51, 57); and that he knowingly treated Mr. Moses (as an inmate) different than private patients

  in terms of discovering and managing the sources of his extreme pain (Pl.’s CSMF ¶¶ 26, 35.)




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  And, as if that were not enough, Dr. Chowdhury knew that the condition(s) he himself suspected

  were serious and potentially life-threatening.3 (Pl.’s CSMF ¶ 24-25.)

         Dr. Chowdhury is attempting to argue that all of his admitted failures above amount to

  nothing more than a mere disagreement as to whether Mr. Moses received proper care—that is

  incorrect. Putting aside the fact that the only expert evidence in the summary judgment record

  refutes any claim that Dr. Chowdhury was acting in an appropriate matter, Dr. Chowdhury’s own

  admissions undermine his argument that this case is nothing more than “mere negligence.” This

  is not a matter of dueling experts determining which procedures or treatment path should have

  been followed. This is a case where Dr. Chowdhury admittedly knew that the situation called for

  immediate and significant pain-management as well as additional testing and procedures.

  However, he refused for two years to provide any form of pain relief to Mr. Moses either by

  himself or by referral to a pain-management specialist. (Pl.’s CSMF ¶¶ 30-33, 37, 46-47, 51-52,

  57-68.) Moreover, Dr. Chowdhury refused to order or recommend diagnostic tests he knew were

  appropriate and would have performed for a non-inmate patient. (Pl.’s CSMF ¶¶ 24-26, 34-35.)

  These knowing and deliberate decisions by Dr. Chowdhury resulted in Mr. Moses suffering “years

  of chronic untreated abdominal pain, and the suffering associated with such pain.” (Dr. Eisner’s

  Report, at 6.)




  3
    Moreover, separate from the pain management issue, even where Dr. Chowdhury did provide
  treatment, he did so with a blatant disregard to the serious and time sensitive nature of Mr. Moses’
  needs. As the Third Circuit has explained “[d]eliberate indifference may be found where [the
  individual]. . . intentionally delays necessary medical treatment … ” Pierce v. Pitkins, 520 F.
  App’x 64, 66 (3d Cir. 2013) (citing Rouse v. Plantier, 182 F.3d 192, 197 (3d Cir. 1999)). Here,
  Dr. Chowdhury knew or should have known of Moses’ medical need for upper and lower
  endoscopies in April 2018, yet he inexplicably failed to order or recommend them and they were
  not performed for nine months. This unexplained delay creates a separate genuine issue of material
  fact as to whether Dr. Chowdhury acted with deliberate indifference.

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          With this record-supported background, it is incredulous to argue that Dr. Chowdhury

  engaged in “mere negligence” as a matter of law, and that no reasonable jury could view his

  knowing and intentional conduct as deliberate indifference. Clearly, there is at least a genuine issue

  of material fact as to whether or not Dr. Chowdhury’s conduct in this regard constitutes deliberate

  indifference. As such, the Court must deny Defendant’s Motion for Partial Summary Judgment.

                                            CONCLUSION

          For the reasons stated above, Plaintiff respectfully requests that Defendant’s Motion be

  denied in its entirety.

                                         Respectfully submitted
                                         REED SMITH LLP


                                         /s/Saranne E. Weimer

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